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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
____________________________________
                                             )
DANIEL JAROCH,                               )
                                             )      Case No. 17 CV 8518
                      Plaintiff,             )
vs.                                          ) Honorable Virginia M. Kendall
                                             )Magistrate Judge Honorable Daniel G. Martin
                                             )
Florida Fruit Juices, Inc.,                  )
Donald Franko, Sr.,                          )
Donald Franko, Jr. and                       )
William J. Franko,                           )
                                             )
       Defendants.                           )
____________________________________         )


                            PLAINTIFF’S REQUEST TO INSPECT

   Now comes Plaintiff, by his attorney request to inspect as follows:


   Plaintiff requests to inspect Plaintiff’s former work site on April 1, 2018 at 9:00 AM.


Plaintiff propounds the following Requests to Inspect on Defendants pursuant to FRCP (rule 34

and 26) and specifically of Rule 26(b) which reads: “to permit entry onto designated land or

other property possessed or controlled by the responding party, so that the requesting party may

inspect, measure, survey, photograph, test, or sample the property or any designated object or

operation on it”. Plaintiff also states an intention to introduce the videotaped evidence at trial in

whole or in part. Plaintiff further intends to use the videotaped evidence in depositions, to

illuminate the work space of Plaintiff and others.

                                      Definitions and Instructions




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                                 Definitions and Instructions


A. Document : Documents means anything within the scope of Federal Rule of Civil
   Procedure 34.
B. Neither the word “or” nor the word “and” should be interpreted so as to result in any
   document not being produced in Response to any of these Requests.
C. “You” refers to the Defendants and any of its agents or employees acting within the
   scope of their agency or employment.
D. Plaintiff means DANIEL JAROCH.


                                      REQUESTS


1. Access to Defendants premises at the Plaintiff’s work location for the following
   purposes:
       a. Inspection and photographing of any federally required postings concerning
            employee rights under the FLSA and the areas surrounding the postings;
       b. Inspection and photographing of any required postings concerning employee
            rights under Illinois Law including Illinois Wage Laws.
2. Access to Defendants premises to view and photograph items from Plaintiff’s work place
   and where Plaintiff performed work for Defendants, including all locations where
   Plaintiff worked.
3. Access to Defendants premises to view and photograph Plaintiff’s personal property, as
   listed in the complaint.
4. Access to Defendants premises to view and photograph Plaintiff’s work facilities that
   support Defendants claims of exemption from overtime including Plaintiff’s:
       a. Office,
       b. Computer,
       c. Work station,
       d.   Any other work areas that support or deny the Defendants’ claims of salary
            exemption.




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Dated: February 28, 2018

                                    Respectfully submitted,



                                    By:           -S- John C. Ireland
                                           JOHN C. IRELAND
                                           Attorney for the Plaintiff
John C. Ireland
The Law Office of John C. Ireland
       636 Spruce Street
Dated: February 26, 2018

                                    Respectfully submitted,



                                    By:           -S- John C. Ireland
                                           JOHN C. IRELAND
                                           Attorney for the Plaintiff
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